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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,                        CASE NO: 09-20523-02

v.                                        DISTRICT JUDGE THOMAS L. LUDINGTON
                                          MAGISTRATE JUDGE CHARLES E. BINDER
MICHAEL ROBERT SZEMITES

        Defendant.
                                   /


                   MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                 RECOMMENDATION CONCERNING PLEA OF GUILTY


I.      REPORT AND FINDINGS

        This case was referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §§

636(b)(1)(B) and 636(b)(3) for purposes of receiving, on consent of the parties, Defendant’s

offer of a plea of guilty. Defendant, along with counsel, appeared before me on . In open

court, I examined Defendant under oath, confirmed Defendant’s consent, and then advised and

questioned Defendant regarding each of the inquiries prescribed by Rule 11(b) of the Federal

Rules of Criminal Procedure.

        Based upon Defendant’s answers and demeanor, I HEREBY FIND: (1) that Defendant

is competent to tender a plea; (2) that Defendant’s plea was knowingly, intelligently made; and

(3) that the offense to which Defendant pleaded guilty is supported by an independent basis in

fact containing each of the essential elements of the offense. Therefore, I have ordered the

preparation of a presentence investigation report.
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II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that, subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the Federal Rules of Criminal

Procedure, Defendant’s plea be accepted, Defendant be adjudged guilty, and the Court impose

sentence.



III.     REVIEW

         Pursuant to Rule 72(b)(2) of the Federal Rules of Civil Procedure, “[w]ithin 14 days

after being served with a copy of the recommended disposition, a party may serve and file

specific written objections to the proposed findings and recommendations. A party may

respond to another party’s objections within 14 days after being served with a copy.”

FED.R.CIV.P. 72(B)(2). See also 28 U.S.C. § 636(b)(1). Failure to file specific objections

constitutes a waiver of any further right of appeal. Thomas v. Arn, 474 U.S. 140, 106 S. Ct.

466, 88 L. Ed.2d 435 (1985); Howard v. Sec’y of Health & Human Servs., 932 F.2d 505 (6th

Cir. 1991); United States v Walters, 638 F.2d 947 (6th Cir. 1981). The parties are advised that

making some objections, but failing to raise others, will not preserve all the objections a party

may have to this Report and Recommendation. Willis v. Sec’y of Health & Human Servs., 931

F.2d 390, 401 (6th Cir. 1991); Smith v Detroit Fed’n of Teachers Local 231, 829 F.2d 1370,

1373 (6th Cir. 1987). Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be

served upon this Magistrate Judge.


                                                      s/C   harles`EB      inder
                                                     CHARLES E. BINDER
Dated: February 28, 2011                             United States Magistrate Judge



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                                      CERTIFICATION

       I hereby certify that this Report and Recommendation was electronically filed this date,
electronically served on Janet Parker and Albert Zerka, and served on District Judge
Ludington in the traditional manner.

Date: February 28, 2011                  By    s/Jean L. Broucek
                                         Case Manager to Magistrate Judge Binder




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